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Exhibit B

Order Denying Motion to Alter or Amend the Court’s Order
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Northern District of California

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

IN RE: CATHODE RAY TUBE (CRT) Case No. 07-cv-05944-IST
ANTITRUST LITIGATION
ORDER DENYING MOTION TO
ALTER OR AMEND THE COURT’S
ORDER

Re: ECF No. 5688, 5689

Before the Court are Other Repealer States’ and Non-Repealer States’ motions to alter or
amend the Court’s order denying their renewed motions to intervene. ECF Nos. 5688, 5689. The
Court will deny the motions.

L BACKGROUND

The facts regarding this case are well known to the parties, and the Court summarizes them
here only insofar as they bear on the present motions.

In February 2008, the Judicial Panel on Multidistrict Litigation (“JPML”) ordered the
centralization of actions alleging that certain defendants conspired to fix prices of cathode ray
tubes. See In re Cathode Ray Tube (CRT) Antitrust Litig., 536 F, Supp. 2d 1364 (J.P.M.L. 2008).
On July 7, 2016, this Court granted final approval of settlement agreements which resolved claims
between one set of plaintiffs — the Indirect Purchaser Plaintiffs (“IPP Plaintiffs”) — and six sets of
corporate defendants. ECF No. 4712 at 1. Two objectors sought appeal of this decision in the
Ninth Circuit. ECF No. 4741.

On November 8, 2018, this Court issued an order in which it concluded that it erred in
approving the settlement provision which required class members in certain Omitted Repealer

States to release their claims without compensation. See ECF No. 5362 at 1. The order expressed

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“concerns about the adequacy of the counsel who negotiated that settlement or whether they may
have faced a conflict of interest.” /d. at 1. In response, the Ninth Circuit remanded “this case so
that the district court [could] reconsider its approval of the settlement.” See Ji re Cathode Ray
Tube Antitrust Litig., No. 16-16368 (9th Cir. Feb. 13, 2009), ECF No. 238 at 11.

On remand, this Court confirmed the existing lead counsel for the IPP Plaintiffs and
appointed separate counsel for the unnamed Omitted Repealer State subclass (“ORS Subclass”)!
and Non-Repealer State subclass (“NRS Subclass”). ECF Nos. 5535, 5518. The Court then
referred the matter to Magistrate Judge Corley for settlement. ECF No. 5427.

On August 23, 2019, NRS Subclass member Eleanor Lewis and several members of the
ORS Subclass moved to intervene in this litigation and file an amended complaint. ECF Nos.
5565, 5567. The Court denied these motions without prejudice. ECF No. 5626 at 3; ECF No.
5628 at 3. In November 2019, Lewis and the ORS Subclass filed renewed motions to intervene.
ECF Nos. 5643, 5645. The Court denied the renewed motions and directed movants to “file their
claims in the appropriate forum(s) and seek transfer from the JPML or, if properly filed in the
Northern District of California, ‘request assignment of [their] actions to the Section 1407
transferee judge in accordance with applicable local rules.”” ECF No. 5684 at 6 (quoting J.P.M.L.
R. 7.2(a)).

On February 13, 2020, Lewis and the ORS Subclass filed motions to alter or amend the

Court’s order denying their renewed motions to intervene.?> ECF Nos. 5688, 5689. Defendants

1 The ORS Subclass in its current iteration consists of Indirect Purchaser Plaintiffs with claims in
the following Omitted Repealer States: Arkansas, Massachusetts, Missouri, Montana, New
Hampshire, Oregon, Rhode Island, South Carolina, and Utah. ECF No. 5518 at 1. The parties
now use the “ORS” abbreviation to signify “other repealer states” rather than “omitted repealer
states.” ECF No. 5645 at I n.1.

* The NRS Subclass consists of Indirect Purchaser Plaintiffs with claims in the following Non-
Repealer States: Alabama, Alaska, Colorado, Connecticut, Delaware, Georgia, Idaho, Illinois,

Indiana, Kentucky, Louisiana, Maryland, New Jersey, Ohio, Oklahoma, Pennsylvania, Texas,

Virginia, Washington, and Wyoming. ECF No. 5518 at 2.

3 Under Civil Local Rule 7-9, “[n]o party may notice a motion for reconsideration without first
obtaining leave of Court to file the motion.” Movants failed to seek leave of Court before filing,
but the Court considers the motions on the merits nevertheless.

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oppose the motions. ECF No. 5690. Lewis and the ORS Subclass have filed replies. ECF Nos.
5691, 5692,
Il. JURISDICTION
The Court has jurisdiction pursuant to 28 U.S.C, § 1331.
I. LEGAL STANDARD

Under Federal Rule of Civil Procedure 59(e), a party may move a court to reconsider a
previous ruling and alter a previous order. See Carroll v. Nakatani, 342 F.3d 934, 945 (9th Cir.
2003); Sacchi v. Mortgage Elec. Registration Sys., Inc., No. CV11-01658 AHM (CWx), 2012 WL
13006267, at *2 (C.D. Cal. March 6, 2012). Reconsideration is appropriate “when (1) the court
committed manifest errors of law or fact, (2) the court is presented with newly discovered or
previously unavailable evidence, (3) the decision was manifestly unjust, or (4) there is an
intervening change in the controlling law.” Rishor v. Ferguson, 822 F.3d 482, 491-92 (9th Cir.
2016).

Rule 59(c) “offers an extraordinary remedy, to be used sparingly in the interests of finality
and conservation of judicial resources.” Carroll, 342 F.3d at 945 (internal quotation marks and
citation omitted). A motion for reconsideration “may not be used to raise arguments or present
evidence for the first time when they could reasonably have been raised earlier in the litigation.”
Kona Enters., Inc. v. Estate of Bishop, 229 F.3d 877, 890 (9th Cir. 2000). It must also do more
than rehash arguments or recapitulate cases already considered by the court. Young v. Peery, 163
F. Supp. 3d 751, 753 (N.D. Cal. 2015); United States vy. Westlands Water Dist., 134 F. Supp. 2d
1111, 1131 (E.D. Cal. 2001).

IV. DISCUSSION

Lewis and the ORS Subclass (collectively “Movants”) contend that reconsideration is
warranted because the Court committed clear error in ruling that the multidistrict litigation
(“MDL”) statute “does not permit [ORS and NRS] movants’ direct intervention into the MDL
proceedings whether by filing separate complaints or amending IPP Plaintiffs’ operative
complaint.” ECF No. 5688 at 5 (internal quotation mark omitted); ECF No. 5689 at 6. But

Movants merely either recapitulate cases already considered by the Court or raise arguments for
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the first time which could reasonably have been raised earlier in the litigation. Movants fail to
provide any basis for the court to alter or amend its order.

First, Movants argue that the Court erred by failing to consider its power under Federal
Rule of Civil Procedure 23 to “to create subclasses and appoint new, adequate class
representatives whenever exiting class representatives are (or become) conflicted or otherwise
inadequate.” ECF No. 5688 at 5; see ECF No. 5689 at 6. Movants assert that the multidistrict
litigation statute, 28 U.S.C. § 1407, does not repeal Rule 23’s “subclass-creation protections for
class members just because, as here, a national class action gets brought into an MDL
proceeding.” ECF No, 5688 at 6; see ECF No. 5689 at 10. Both Lewis and the ORS Subclass had
ample opportunity to raise these arguments during the briefing on their renewed motions to
intervene, Instead, Movants asserted that: (1) “Judicial Panel of Multidistrict Litigation Rule
7.2(a) explicitly allows for direct filing” complaints in MDL proceedings and (2) “[t]here is
simply no basis in Multidistrict jurisprudence for opposing the addition of Ms. Lewis as a plaintiff
so that she can represent the interests of her subclass.” ECF No. 5670 at 25 n.8; see ECF No.
5668 at 5. “Rule 59 is not a vehicle for... . securing a rehearing on the merits, or otherwise taking
a second bite at the apple.” Baldonado v. United States, No. 2:06-cv-07266-JHN-RZ, 2011 WL
13213543, at *2 (C.D. Cal. Oct. 12, 2011). Movants’ motions for reconsideration may not be used
lo raise these arguments for the first time when they could reasonably have been raised earlier in
the litigation. Kona, 229 F.3d at 890.

Second, Movants attempt to distinguish this action from two cases on which the Court
relied in its order denying the renewed motions to intervene: Jn re Mortgage Elec. Registration
Sys. (MERS) Litig., No. MD-09-02119-PHX-JAT, 2016 WL 3931820, at *5 (D. Ariz. July 21,
2016) and Jn re Farmers Ins. Exch. Claims Representatives’ Overtime Pay Litig., MDL No. 33-
1439, 2008 WL 4763029, at *3 (D. Or. Oct. 28, 2008). ECF No. 5688 at 7-8; ECF No. 5689 at 7.
A party seeking reconsideration under Rule 59, however, “must do more than rehash arguments or
recapitulate cases already considered by the court.” White v. Square, Inc., No. 15-cv-04539-JST,
2016 WL 6647927, at *2 (Nov. 9, 2016) (citations omitted).

Third, Movants repeat the assertion from their prior briefing that “[i]hey very specifically
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[are] not seeking to file a new suit.” ECF No. 5688 at 8; see ECF No. 5670 at 24 (noting that “the
ORS Plaintiffs do not seek severance from this case” and “are not seeking to file new claims that
are untethered from the already-pending litigation”). As noted above, “a motion to reconsider is
not a vehicle permitting the unsuccessful party to ‘rehash’ arguments previously presented.”
Williams v. Felker, No. CIV S-08-0878 LKK GGH P, 2010 WL 744795, at *1 (E.D. Cal. March 3,
2010).

Fourth, Movants suggest that the Court misunderstood their motions as requests “‘to be
joined as a party to the MDL proceeding” rather than motions “‘to intervene as a named plaintiff in
each and everyone one of the indirect purchaser actions that comprise MDL 1917.” ECF No. 5689
at 7 (emphasis in original); ECF No. 5688 at 8. Regardless of this attempt at reframing, the rule
remains that Movants are not permitted to add plaintiffs to this MDL who “never filed a lawsuit in
any federal court nor had [their] case transferred to the transferee MDL court by the Judicial
Panel.” Jn re MERS, 2016 WL 3931820, at *7 (“[T]he majority of case law on this topic indicates
that a transferee court’s jurisdiction is not sufficiently invoked where an added plaintiff never filed
a lawsuit in any federal court nor had its case transferred to the transferee MDL court by the
Judicial Panel.”); see id. (“Plaintiffs cannot add [potential class member] DeBaggis as a plaintiff
by amendment in the MDL as this directly contradicts the appropriate procedures designated in 28
U.S.C. § 1407 for consolidating cases for pretrial proceedings.”),

Finally, Movants suggest that the Court’s order is inconsistent with prior orders in this
MDL, which have allowed the addition of named plaintiffs to indirect purchaser actions through
amendments to various Consolidated Amended Complaints, ECF No, 5689 at 12; ECF No, 5688
at 8 (“To the extent this Court seeks to adopt the MERS analysis of amendment to bar the addition
of new parties within an MDL, then that analysis must apply equally to the IPPs.”). In support,
Movants cite orders issued between 2010 and 2012* which granted two stipulated requests to file
amended complaints. ECF No. 5689 at 12 n.4 (citing ECF Nos. 799, 1505); see also ECF No.

5688 (citing ECF No. 437). Because no party objected to those stipulations, the judge then

* This action was assigned to the undersigned on November 3, 2015. ECF No. 4164.
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presiding over the case had no occasion to consider the appropriate procedures under the MDL
statute. In any event, there is nothing improper, let alone “clearly erroneous,” about the Court’s
application of MDL procedural! requirements to Lewis’s and the ORS Plaintiffs’ instant motions to
intervene. See S.E.C. v. Pattison, No. C-08-4238 EMC, 2011 WL 2293195, at *2 (N.D. Cal. June
9, 2011) (“[C]lear error should conform to a very exacting standard—e.g., a court should have a
clear conviction of error.” (internal quotation marks and citation omitted)); Campion v. Old
Republic Home Protection Co., No. 09-CV-748-JMA(NLS), 2011 WL 1935967, at *1 (S.D. Cal.
May 20, 2011) (“Mere doubts or disagreement about the wisdom of a prior decision of this or a
lower court will not suffice... . To be clearly erroneous, a decision must strike us as more than
just maybe or probably wrong; it must be dead wrong.” (internal quotation marks and citation
omitted)); Teamsters Local 617 Pension and Welfare Funds v. Apollo Group, Inc., 282 F.R.D.
216, 231 (D. Ariz. 2012) (same).
CONCLUSION

For the foregoing reasons, the Court denies the motions to alter or amend its order denying
Lewis’s and the ORS Subclass’s renewed motions to intervene.

IT IS SO ORDERED.
Dated: April 9, 2020

JON S. TIGAR
ited States District Judge

